    Case 1:19-cv-21268-RNS Document 1-3 Entered on FLSD Docket 04/04/2019 Page 1 of 1

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                       SouthernDistrict
                                                    __________ Districtof
                                                                        of__________
                                                                          Florida


  ROBERT ELIE MENARD and STEVEN KENNAN                               )
                 PAYNE                                               )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                          Civil Action No.
                                                                     )
 MIAMI-DADE COUNTY and CARLOS D. ANGULO,                             )
  individually and in his capacity as a Miami-Dade                   )
                County Police Officer                                )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) CARLOS D. AGULO
                                           c/o Miami-Dade Police Department
                                           9105 NW 25th Street,
                                           Doral, FL 33172




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Yechezkel Rodal, Esq.
                                           Rodal Law, P.A.
                                           5300 N.W. 33rd Ave., Suite 219
                                           Ft. Lauderdale, Florida 33309
                                           Chezky@Rodallaw.com
                                           (954) 367-5308

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               CLERK OF COURT


Date:
                                                                                         Signature of Clerk or Deputy Clerk
